Case:19-04262-swd Doc#:4 Filed: 10/09/19 Page 1of6

Fill in this information to identify your case:

| United States Bankruptcy Court for the:

| WESTERN DISTRICT OF MICHIGAN _

| Case number (if known) 19-04262

Official Form 201

HB Check if this an
amended filing

Voluntary Petition for Non-Individuals Filing for Bankruptcy ang

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification
Number (EIN)

4. Debtor's address

5. Debtor's website (URL)

6. Type of debtor

Official Form 201

GN Investments, LLC

XX-XXXXXXX

Principal place of business

Najeeb Khan

Sole Member

23443 Lakeview Drive
Edwardsburg, MI 49112 -
Number, Street, City, State & ZIP Code

Cass
County

Mailing address, if different from principal place of
business

PO Box 360
Granger, IN 46530

P.O. Box, Number, Street, City, State & ZIP Code

Location of principal assets, if different from principal
place of business

‘Number, Street, City, State & ZIP Code

i Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

0) Partnership (excluding LLP)
OO Other. Specify:

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
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Debtor GNinvestments, LLC = oe Case number (ifknown) 49.04262
Name oe

7. Describe debtor's business A. Check one:
O Health Care Business (as defined in 11 U.S.C. § 101(27A))
C1 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C1 Railroad (as defined in 11 U.S.C. § 101(44))
0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
O Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

Hl None of the above

B. Check all that apply

C] Tax-exempt entity (as described in 26 U.S.C. §501)

C1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
C1 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http:/Awww.uscourts.gov/four-digit-national-association-naics-codes.

 

8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? C] Chapter 7
O Chapter 9

@ Chapter 11. Check all that apply:

C1) Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).

(The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

OO

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

(The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

[] The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
O Chapter 12

9. Were prior bankruptcy HINo
cases filed by or against :
the debtor within the last8 [1 Yes.

years?

If more than 2 cases, attach a .

separate list. District ee When ee ___ Case number ets ts aH nn
District ___ When / Case number

10. Are any bankruptcy cases []No
pending or being filed by a
business partner or an Yes.
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list Debtor

District ee When ~—_ Case number, if known

See Attachment Relationship

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Debtor
Name

11. Why is the case filed in
this district?

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

oe Statistical and administrative information

13. Debtor's estimation of
available funds

14. Estimated number of
creditors

15. Estimated Assets

16. Estimated liabilities

Official Form 201

C1 $0 - $50,000

DZ $0 - $50,000

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GNInvestments, LLC

Check all that apply:

Case number (if known) 419.04262

O_sDebtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

@eaA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

Hi No

1 Yes.

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)

CZ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

CZ it needs to be physically secured or protected from the weather.

C0 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

OO Other oe
Where is the property?

Is the property insured?
OONo
OyYes. Insurance agency
Contact name

Phone

Check one:

Number, Street, City, State & ZIP Code

i Funds will be available for distribution to unsecured creditors.

C After any administrative expenses are paid, no funds will be available to unsecured creditors.

1-49
C1 50-99

CZ 100-199
CZ 200-999

C1 $50,001 - $100,000
0 $100,001 - $500,000
CJ $500,001 - $1 million

(1 $50,001 - $100,000
C1 $100,001 - $500,000
O $500,001 - $1 million

1 1,000-5,000
1 5001-10,000
C1 10,001-25,000

HI $1,000,001 - $10 million

C1 $10,000,001 - $50 million
C1 $50,000,001 - $100 million
C1 $100,000,001 - $500 million

C1 $1,000,001 - $10 million

DO $10,000,001 - $50 million
C $50,000,001 - $100 million
Hi $100,000,001 - $500 million

Voluntary Petition for Non-Individuals Filing for Bankruptcy

1 25,001-50,000
0 50,001-100,000
UO More than100,000

C1 $500,000,001 - $1 billion

Oo $1,000,000,001 - $10 billion
O $10,000,000,001 - $50 billion
0 More than $50 billion

OJ $500,000,001 - $1 billion
O $1,000,000,001 - $10 billion
0 $10,000,000,001 - $50 billion
UO More than $50 billion

page 3
Case:19-04262-swd Doc#:4 Filed: 10/09/19 Page 4 of 6
Debtor GNInvestments,LLC a Case number (ifknown) 49.04262

Name

Pe Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is trued and correct.

| declare under penalty of ph the foregoing is true and correct.
Cc Zo

My

WY

   

c, a4— Najeeb Khan
Si nafure, < My ‘repfesentative of debtor Printed name

 

18. Signature of attorney x (. Date je/ 04, eo/ 2

Signature of attomey / for debtor a | a MM /DD/YYYY

Robert F. Wardrop II (P31639)
Printed name

Wardrop & Wardrop, P.C.
Firm name

300 Ottawa Avenue, N.W.

Suite 150

Grand Rapids, MI 49503-2308
Number, Street, City, State & ZIP Code

Contact phone (616) 459-1225 Email address _bkfilings@wardroplaw.com |

(P31639) MI ;
Bar number and State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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Debtor GN Investments, LLC oe Case number (if known) 19-04262

Name

Fill in this information to identify your case:

 

| United States Bankruptcy Court for the:

|
_ WESTERN DISTRICT OF MICHIGAN Oo
‘Case number (if known) 19-04262 0 Chapter 11 |

HB Check if this an
amended filing

FORM 201. VOLUNTARY PETITION

Pending Bankruptcy Cases Attachment

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5
Debtor

Debtor

District
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District

Official Form 201

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19-04262

_GN Investments, LLC |

Name

Interlogic Outsourcing, Inc. |

U.S. Bankruptcy Court, Northern

District of Indiana _

IO! Payroll § Services, Inc.

U.S. Bankruptcy Court, Northern
District of Indiana

 

District of Indiana __

IOI West, Inc.

U.S. Bankruptcy Court, Northern

District ofIndiana |

Khan Aviation, Inc.

U.S. Bankruptcy Court, Western
District of MI

_KRW Investments, Inc.

U.S. Bankruptcy Court, Western
District of Michigan

_Lakeview Holdings, Inc.

U.S. Bankruptcy Court, Norther

District of Indiana |

Lakeview Technology, Inc. ee

U.S. Bankruptcy Court, Northern
District ofIndiana >

_ModEarn, Inc.

U.S. Ranknuptey Court, Northern

_District of Indiana_

Najeeb Khan _~

U.S. Bankruptcy Court, Western
District of Michigan __

_NAK Holdings, LLC _

U.S. Bankruptcy Court, Western
District of Michigan

NJ Realty, LLC —

U.S. Bankruptcy Court, Western
District of Michigan _

Sarah Air, LLC

U.S. Bankruptcy Court, Western
District of Michigan

TimePlus Systems, LLC

When

When

When

When

When

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U.S. Bankruptcy Court, Northern

When

8/11/19

8/11/19

8/11/19

; Relationship to you

10/08/19

10/08/19

8/11/19

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Case number (if known)

Relationship to you

Case number, if known

Relationship to you

Case number, if known

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Case number, if known

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Affiliate

19-31445 |

Affiliate

19-31446

Affiliate

19-31447

affiliate

Affiliate

Affiliate

19-31448

Affiliate _

19-31449

Affiliate

19-31450_

Affiliate

19-04258

Affiliate

Affiliate

Affiliate

Affiliate

19-31451

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